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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION


UNITED STATES OF AMERICA,                )
                                         )
        Plaintiff/Respondent             )
                                         )
   v.                                    )      Civil No. 05-2012
                                         )      Criminal No. 2:03-20039-003
                                         )
SON TRUONG NGUYEN,                       )
                                         )
        Defendant/Movant                 )

                                         ORDER

   Upon consideration of movant’s Motion Requesting Release of Presentence

Investigation Report, the Court finds the motion to be well taken and it is hereby granted.

   WHEREFORE, the United States Probation Office is directed to release the

Presentence Investigation Report and all addendums to counsel for Mr. Nguyen forthwith.

   IT IS SO ORDERED this 9th day of November 2005.




                                         /s/Beverly Stites Jones
                                         Honorable Beverly Stites Jones
                                         United States Magistrate Judge
